                                Case 6:23-bk-01333-TPG                   Doc 1        Filed 04/11/23           Page 1 of 13


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Commercial Express, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  335 W. Lakeview Ave.
                                  Lake Mary, FL 32746
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Seminole                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.commercialexpress.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Commercial Express, Inc.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Commercial Express, Inc.                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Commercial Express, Inc.                                                    Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




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Debtor    Commercial Express, Inc.                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 11, 2023
                                                  MM / DD / YYYY


                             X   /s/ Peter Schottmiller                                                   Peter Schottmiller
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice President




18. Signature of attorney    X   /s/ Stephen R. Caplan                                                     Date April 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen R. Caplan
                                 Printed name

                                 Caplan & Associates, PA
                                 Firm name

                                 31 N. Hyer Ave.
                                 Orlando, FL 32801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (407) 872-6249                Email address      scaplan860@aol.com

                                 835153 FL
                                 Bar number and State




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Commercial Express, Inc.            Amplo Enterprise Inc.                  Breakout
335 W. Lakeview Ave.                3253 Olivera Way                       1451 Dolly Madison Blvd.
Lake Mary, FL 32746                 Saint Cloud, FL 34772-6706             Ste. 200
                                                                           Mc Lean, VA 22101



Stephen R. Caplan                   Anita Grau Dixon                       Brendan C. Ruffin
Caplan & Associates, PA             5518 118th Street                      4704 Ambercromby St
31 N. Hyer Ave.                     Lot 282                                Charlotte, NC 28213-4281
Orlando, FL 32801                   Jacksonville, FL 32244



 Leydiana Marcos Batista            Anthony Lamont Townsend                Brewer Courier, Inc.
2327 N. Red Oak Dr.                 7323 Cedarfield Rd.                    5137 Snow White Lane
Hobbs, NM 88240                     Charlotte, NC 28227-3618               Charlotte, NC 28213-6125




3JJJ Trucking LLC                   Asdrubal O. Salazar Hung               Brooks & Son Transport LLC
7802 Deborah Drive                  21955 Tidewater Terrace                909 E. Texas Dr.
Pensacola, FL 32514-4554            Apt. 203 B                             Pensacola, FL 32503-3640
                                    Boca Raton, FL 33433-7866



Ace Carrier Services, LLC           ATTN To Details Delivery Srv           C Center Inc.
1920 Dean Road                      1400 S. Magnolia Dr.                   P.O. Box 2784
Apt. 34                             Tallahassee, FL 32301-5753             West Palm Beach, FL 33402
Jacksonville, FL 32216-4572



Ace Solutions                       Axel Javier Garcia Hernandez           Cachamai, LLC
8000 S. Orange Ave.                 1376 Westpoint Villas Blvd.            1500 River Hillls Circle W.
Ste. 212                            Winter Garden, FL 34787-6131           Jacksonville, FL 32211-7544
Orlando, FL 32809-6748



Alberto Suarez Marquez              Barrett Enterprises, Inc.              Canon
7723 Jodi Lynn Drive                25 N. Market St.                       158 Gaither Dr.
Tampa, FL 33615                     Jacksonville, FL 32202-2802            Mount Laurel, NJ 08054




America SA Transport LLC            Beeleaf Express                        Carlos Olivar
3238 Kelvington Drive               172 Harwood Circle                     7021 Samuel Ivy Dr.
Orlando, FL 32810-4314              Kissimmee, FL 34744-8413               Tampa, FL 33619-6961




American Express                    BGI Logistics LLC                      CC&M Company
1801 NW 66th Ave.                   25 N. Market St                        4052 Promenade Sq.
Fort Lauderdale, FL 33313           Jacksonville, FL 32202-2802            Apt. 3214
                                                                           Orlando, FL 32837-3362
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Childress Enterprise Xpress         Donald H. Sturdivant                  Enrigue Gonzalez
201 W. Nash St.                     250 Archdale Dr.                      19550 NW 57th Court
Elm City, NC 27822                  Apt. 7209                             Hialeah, FL 33015
                                    Charlotte, NC 28217



Chopsbaso Transportation LLC        Door Drop LLC                         Enrique Del Valle Rodriguez
7262 Buchannan Rd.                  416 W. Kingston Ave.                  437 Pointe Allyson Way
Fort Myers, FL 33967                Charlotte, NC 28203                   Orlando, FL 32825




Christian Oman Gonzalez             Edna M. Jordan                        Ernest Appiah
1901 Peach Tree Blvd.               1208 Bridge Creek Terrace             2419 Mint Thistle Court
Saint Cloud, FL 34769-1634          Pensacola, FL 32506-9592              Charlotte, NC 28269




Clerence T. Collins                 Eduardo Rene Deiguez Roger            Ernesto Martinez
1613 Rockerman Ave.                 2132 Crosshair Cicle                  6203 N. Thatcher Ave.
Jacksonville, FL 32221-1461         Orlando, FL 32837                     Tampa, FL 33614




Cuellars Deliveries LLC             Eligia R. Leon Gonzalez               Ernesto Martinez, Sr.
6703 Dimarco Rd.                    11067 Laguna Bay Dr.                  6203 N. Thatcher Ave.
Tampa, FL 33634-7313                Apt. 208                              Tampa, FL 33614
                                    Orlando, FL 32821



Daniel Castaneda Brito              EMA USa Services LLC                  Ernesto Triana Silva
11115 W. Okeechobee Rd.             14225 Babylon Way                     1011 W. Waters Ave.
Apt. 17                             Orlando, FL 32824                     #1815
Hialeah, FL 33018                                                         Tampa, FL 33614



DCS Logistics Inc.                  Emanon Logistics LLC                  F.M. Carriers, Inc.
13559 Falcon Pointe Dr.             3025 Firethron Ave.                   Felix Sola
Orlando, FL 32837-5307              Orange Park, FL 32073                 458 Dewars Court
                                                                          Winter Springs, FL 32708



Delta Bridge                        Emmanuel K. Wilson                    Fernando Gil
187 Wolf Rd., Ste. 101              3418 Whitehall Green Ln.              1027 Universal Rest Pl
Albany, NY 12205                    Apt.                                  Kissimmee, FL 34744
                                    Charlotte, NC 28273



Diamond Dawg Delivery               Empire Trucking, Inc.                 Garval Transport LLC
1838 S. Markley Ct.                 3050 Station Square                   235 Jeremy Drive
Fort Myers, FL 33916-2305           Apt. 110                              Davenport, FL 33837
                                    Kissimmee, FL 34744
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Gary Jeter                             Ivan Leandro Betancurt Marin             Jimmie A. McCorvey
8262 Fouraker Forest Rd.               2522 W. Knollwood Street                 341 E. Ensley Street
Jacksonville, FL 32221                 Tampa, FL 33614                          Pensacola, FL 32514




Gladys E. Swain                        J&J Restoration and More LLC             JM Haynes Delicery Services
3505 Cessnock Dr.                      6727 Forrestvale Lane                    281 SW 3rd Terrace
Pensacola, FL 32514                    Tampa, FL 33634                          Cape Coral, FL 33991




Goldia Sturdivant                      J&P Mulit Imports LLC                    Joe Cargo Logistics
250 Archdale Dr.                       14012 Colonial Grand Blvd.               P.O. Box 1463
Apt. 7209                              Apt.                                     Goldenrod, FL 32733
Charlotte, NC 28217                    Orlando, FL 32837



Guillermo Rodriguez Lopez              Jairo Joaqui                             Joel M. Oliviera
6816 Monique Ave.                      3405 Burlington Dr.                      27 Bruce Lane
Tampa, FL 33625                        Orlando, FL 32837                        Palm Coast, FL 32137




Harry O. Bruce                         James E. Franklin, Jr.                   Joel rodriquez Vazquez
4101 Gradner Ridge Dr.                 1700 5th Way NW                          91 S. 14th Street
Apt. 8                                 Center Point, AL 35215                   Haines City, FL 33844
Gastonia, NC 28056



HFH                                    Jamie A. Norsworthy                      Jolidain Transport LLC
1677 44th Street                       121 Elm Street                           3604 Winbledon Lane
Brooklyn, NY 11204                     Pleasant Grove, AL 35127                 Davenport, FL 33837




Hill Trucking, LLC                     Jams Delivery LLC                        Jorge L. Perez Casal
4949 Yacht Harbour Dr.                 1902 Sunniland Blvd.                     2515 Greenmor Pl
Pensacola, FL 32514                    Lehigh Acres, FL 33971                   Tampa, FL 33618




Ines Mercedes Reyes                    Jerry Mondestin                          Jorge Luis Faria
2687 Hawthorne Lane                    6458 Rolling Tree St.                    6816 Monique Ave.
Kissimmee, FL 34743                    Jacksonville, FL 32222                   Tampa, FL 33625




Ivan Gomez                             Jev Trucking, Inc.                       Jorge Rodriquez Curbelo
6516 Cacciiatore Rd.                   1833 NW 21st Ave.                        5325 Moxie Bvld.
Tampa, FL 33625                        Cape Coral, FL 33993                     Orlando, FL 32839
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Joshua Lee Vinson                     Keon A. Brewer                           Luz Adriana Molina
1150 Wilcox Street, Apt. C            5806 Ankeny Court                        11909 Bentry Street
Pensacola, FL 32534                   Charlotte, NC 28269                      Orlando, FL 32824




JPA Quality Servce Inc.               Lavern M. Johnson                        Lynn M. Traxler
3208 Hunters Chase Loop               1239 Lauderdale Dr.                      130 Newcastle Court
Kissimmee, FL 34743                   Richmond, VA 23238                       Brandon, MS 39047




Juan Rosa Sanchez                     Leon Express LLC                         Manuel A. Quiles
4604 Fox Hunt Drive                   1102 NE 15 Terrace                       2502 Oak Run Blvd.
Tampa, FL 33624                       Cape Coral, FL 33909                     Kissimmee, FL 34744




Kameron E. Russell                    Lillet Dela Caridad                      Manuel Arias Ortiz
7840 Lilac Lane                       5428 Pentail Circle                      3400 Townsend Blvd.
Apt. 811                              Tampa, FL 33625                          Apt. 281
Pensacola, FL 32514                                                            Jacksonville, FL 32277



Katherine M. Drake                    Linda M. Ballard                         Maralis O. Cepero Morales
125 Newcastle Court                   12128 Windermere Crossing                2511 NE 6th Place
Brandon, MS 39047                     Winter Garden, FL 34787                  Cape Coral, FL 33909




Kathy P. Allen                        Lonnetta D. Greer-Means                  Maria I. Fundora
P.O. Box 401                          225 Bray Street                          4730 NW 195th Terrace
Crawfordville, FL 32326               Rural Hall, NC 27045                     Miiami Gardens, FL 33055




Keith A. Altz                         Lord A. Umazar                           Maribel Herrera
3860 Autumn Leaf Court                4317 Munsee Street                       1303 Ivy Meadow Dr.
Jacksonville, FL 32246                Charlotte, NC 28213                      Orlando, FL 32824




Kendrick Transport Inc.               Loretta E. Peterson                      Marion W. Harper
                                      127 Stacia Street                        211 E. Lewis Street
                                      Tallahassee, FL 32305                    Whiteville, NC 28472




Kenneth H. Branch                     Luis Arturo Vega Diaz                    Marlon A. Allsbrooks
7119 Birchwood Rd.                    4528 Stengal Loop                        1018 Green Terra Rd.
Grand Ridge, FL 32442                 Wesley Chapel, FL 33545                  Indian Trail, NC 28079
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Marucha Transport Corp             Osley Amador-Delgado                     Ramon Vasquez
10729 Tabor Dr.                    7723 Jodi Lynn Dr.                       10478 St Topez Place
Tampa, FL 33625                    Tampa, FL 33615                          Tampa, FL 33615




Marybel Santos                     Osvaldo Modest Torres Santan             Randall L. Landrum
5007 Laguna Bay Cir., #29          13010 Siruis Lane                        6216 Humphries Hill Rd.
Kissimmee, FL 34746                Hudson, FL 34667                         Austell, GA 30106




Maxwell Ofori                      Pamela Tarte                             Reginald Harrison
1478 Summer Coach Dr.              7119 Birchwood Rd.                       182 Uptain Rd.
Charlotte, NC 28216                Grand Ridge, FL 32442                    Quincy, FL 32352




Menendez Express, LLC              Pedro Ortiz                              Relbis Fernando Ruch Napoles
1701 Lake Shore Blvd.              6407 N. Clark Ave.                       5828 Pential Circle
Apt. 2403                          Tampa, FL 33614                          Tampa, FL 33625
Jacksonville, FL 32210



Migual Angel Ruiz Moralez          Philip A. Powell                         Rennard L. Mullins
4518 W. Fern Street                11464 Scott Mill Road                    5800 University Blvd. W
Tampa, FL 33614                    Jacksonville, FL 32223                   Apt. 343
                                                                            Jacksonville, FL 32216



Miller Transit, LLC                Prosix LLC                               Ritza M. Rodriguez Melendez
13872 Miller Lane                  Shawn Corbett                            4103 Bobbys Court
Summerdale, AL 36580               639 Anchor Lane                          Apt. 103
                                   Melbourne, FL 32904                      Kissimmee, FL 34741



MPC Express, LLC                   QD Courier Services LLC                  Robert Daniels
5311 Summerlin Rd.                 1141 Kendall Town Blvd.                  851 E. Ten Mile Rd.
PAT 11-01                          Unit 5                                   Pensacola, FL 32514
Fort Myers, FL 33919               Jacksonville, FL 32225



Nieves Rodriguez                   Raidel Castro                            Robert Matthews
1502 Senior Court                  15906 Hampton Village Dr.                9310 Fairmead Dr.
Lehigh Acres, FL 33971             Tampa, FL 33618                          Charlotte, NC 28269




Niura Crespo Beceiro               Raidel Rufin                             Robert Soto
6407 N. Clark Ave.                 2243 Elizabeth Dr.                       4729 Seeley Street
Tampa, FL 33614                    Brandon, FL 33510                        Kissimmee, FL 34758
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Roberto Passalacqua                  Saviel E. Delvalle Robles              Teresa Reynolds
4459 Western Gail Ct.                2708 Haul Over Blvd.                   412 Stimson Street
Unit 501                             Deltona, FL 32738                      Orlando, FL 32839
Fort Myers, FL 33916



Rodolfo Gil                          Seven Days Produce                     Terry K. Canfield
11448 Wheeling Dr.                   6553 Syringa Lane                      612 SE Adams Street
Tampa, FL 33625                      Jacksonville, FL 32211                 High Springs, FL 32643




Rolando Castaneda Borrego            Shaari Blount                          THB Delivery Service LLC
1115 W. Okee Rd.                     1759 W. 43rd St.                       3668 Mackey Cove Dr.
Unit 170                             Jacksonville, FL 32209                 Pensacola, FL 32514
Hialeah, FL 33018



Roosevelt Wayne                      Shalonda D. Glenn                      Thomas Jones
4003 Hope Valley Lane                8502 India Ave.                        1402 Wallace Street
Greensboro, NC 27401                 Jacksonville, FL 32211                 Richmond, VA 23220




Royal Oak                            Stephen H. Windham                     Timothy D. Jones
7 Rice Ave.                          2225 NW 3rd Terrace                    236 Langham Drive
Staten Island, NY 10301              Cape Coral, FL 33993                   Davenport, FL 33897




RR Xpress TRans Corp.                Swift Funding                          Tommie Lee Hickman
6922 N. Thatcher Ave.                130 Shoore Road, Ste. 319              408 5th Street
Tampa, FL 33614                      Port Washington, NY 11050              Pleasant Grove, AL 35127




Ruth Galllego                        Sylvester Wiggins                      Tonia Gail Browder
14579 Grassy Cove Circle             69993 Ludlow Street                    6105 Dallas Ave.
Orlando, FL 32824                    Pensacola, FL 32505                    Pensacola, FL 32526




S.N. Express LLC                     Tavares Express Trucking LLC           Trans Solutions
11287 Estancia Villa Circle          8985 Normandy Blvd.                    P.O. Box 1628
Unit 4                               Lot 230                                Hickory, NC 28603
Jacksonville, FL 32246               Jacksonville, FL 32221



Sandra B. Coria                      Tavin D. Ash                           Trucking by RT, LLC
2674 Ceram Ave.                      2534 Lemon Lane                        1618 Twin Oak Lane
Orlando, FL 32837                    Tallahassee, FL 32308                  Middleburg, FL 32068
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Tyron Gibbs                        Yasmani Martinez Garcia
1521 Pleasant Garden Lane          2118 W. Isabel Street
Raleigh, NC 27610                  Tampa, FL 33607




Vernon Cole                        Yimel Nunez Guzman
1246 Alpine Lake Drive             9841 Oak Street
Brandon, FL 33511                  Tampa, FL 33635




Vernon Lee Grandison Jr.           Yiranne Guerra Gomez
1002 Muscogee Rd.                  3010 Sera Bella Way
Cantonment, FL 32533               Kissimmee, FL 34744




Victor Ramirez Tello               Yisandra Carmenate Crespo
11919 Pethrick Dr.                 1111 Willlow Pines Ct. E
Orlando, FL 32824                  Tampa, FL 33604




Way2Klean, Inc.                    Yleon Trucking Inc.
3402 Goldeneye Lane                113 NW 13th Street
Saint Cloud, FL 34772              Cape Coral, FL 33993




Wayne P. Landrum                   Zadok Benyamin
3104 E. Desoto Street              15258 Eric Kyle Dr.
Pensacola, FL 32503                Huntersville, NC 28078




Willliam E. Medlin Jr.
5826 Stantonsburg Rd.
Farmville, NC 27828




Worldwide Express Service
1912 White Heron Bay Circle
Orlando, FL 32824




Yandry Crespo Obregon
5428 Pintail Circle
Tampa, FL 33625
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                                         United States Bankruptcy Court
                                               Middle District of Florida
 In re   Commercial Express, Inc.                                                   Case No.
                                                            Debtor(s)               Chapter    7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Commercial Express, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 11, 2023                                 /s/ Stephen R. Caplan
Date                                           Stephen R. Caplan
                                               Signature of Attorney or Litigant
                                               Counsel for Commercial Express, Inc.
                                               Caplan & Associates, PA
                                               31 N. Hyer Ave.
                                               Orlando, FL 32801
                                               (407) 872-6249
                                               scaplan860@aol.com
